           IN THE UNITED STATES DISTRICT COURT FOR THE
                   MIDDLE DISTRICT OF ALABAMA

                           NORTHERN DIVISION

LARRY GRADY,                               )
AIS # 143344                               )
                                           )
      Plaintiff,                           )
v.                                         )     Case No.:
                                           )     2:14-CV-991-ECM
LEEPOSEY DANIELS,                          )
                                           )
      Defendant.                           )


            MOTION TO SUBSTITUTE COUNSEL OF RECORD

      COMES NOW Assistant Attorney General Madeline H. Lewis and

respectfully asks the Court’s permission to substitute Madeline H. Lewis as

counsel of record for the Defendant, Leeposey Daniels and, for grounds, state as

follows:

      The Alabama Department of Corrections has transferred this case to

Madeline H. Lewis.

                                           Respectfully submitted,

                                           STEVE MARSHALL
                                           ATTORNEY GENERAL
                                           By:



                                           /s/ Madeline H. Lewis
                                              Madeline H. Lewis
                                              Assistant Attorney General
                                              Counsel for Defendant


OF COUNSEL:

General Civil Litigation and Administrative Law Division
Office of the Attorney General
State of Alabama
501 Washington Avenue
Montgomery, Alabama 36130-0152
Office: (334) 353-4840
Fax: (334) 242-2433




                        CERTIFICATE OF SERVICE

      I hereby certify that on May 15, 2019, I electronically filed the foregoing

with the Clerk of the Court, using the CM/ECF system, and that I have further

served a copy on the Plaintiff, by placing same in the United States Mail, postage

prepaid, and properly addressed as follows:

            Inmate Larry Jerome Grady, pro se
            AIS #143344
            Elmore Correctional Facility
            3520 Marion Spillway Road
            Elmore, AL 36025


                                              /s/ Madeline H. Lewis
                                              OF COUNSEL




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